         Case 1:21-cv-03217-CJN Document 26-1 Filed 05/09/22 Page 1 of 8




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 MARK MEADOWS,

                 Plaintiff,

 v.                                               Case No. 21-cv 3217-CJN

 NANCY PELOSI, et al.,

                 Defendants.

 CABLE NEWS NETWORK, INC., et al.,

                Proposed Intervenors.


         MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
         THE PRESS COALITION’S MOTION TO INTERVENE AND UNSEAL

       This case presents a historic and unique set of circumstances: the former White House

Chief of Staff is suing the Speaker of the U.S. House of Representatives and several other

Members of Congress over their demands for information about the former President’s failed

efforts to overturn the results of the 2020 election. Congress’ efforts to establish a public

reckoning of government officials’ conduct on January 6 also presents a unique and historic

interest in the transparency of this Court’s proceedings. To advance that interest, the Press

Coalition has moved pursuant to Rule 24(b) of the Federal Rules of Civil Procedure and Local

Civil Rule 7(j) to intervene in this matter for the limited purpose of seeking access to certain

judicial records that have been filed under seal or otherwise not been made available on the

public docket.1 The Press Coalition specifically seeks access to the following documents:



1 The Press Coalitionconsists of: Cable News Network, Inc., American Broadcasting
Companies, Inc. d/b/a ABC News, The Associated Press, Axios Media Inc., Buzzfeed, Inc. d/b/a
BuzzFeed News, CBS Broadcasting Inc. o/b/o CBS News, Dow Jones & Company, Inc.,

                                                  1
           Case 1:21-cv-03217-CJN Document 26-1 Filed 05/09/22 Page 2 of 8




               A sealed motion for leave to file a document under seal, filed by
                the Defendants (Dkt. 16), and supporting declaration (Dkt. 16-1);

               The May 2, 2022 Order (Dkt. 21) granting that motion; and

               A sealed document filed by Defendants relating to their motion
                for summary judgment (Dkt. 24). 2

       These filings (together, the “Sealed Records”) are all subject to the First Amendment and

common law rights of access. The public docket provides no explanation as to why, despite the

strong presumption of transparency in this Circuit, these judicial records are not available to the

public. The Court should therefore permit the Press Coalition to intervene and grant its motion

for access to the Sealed Records. The January 6 assault on the Capitol was a public event. The

House Select Committee is making an effort to establish a public reckoning of that event. This

Court should likewise conduct its work on this historic matter in full public view.

I.     BACKGROUND

       This lawsuit is one of many cases arising out of the riot at the United States Capitol on

January 6, 2021, an event “of deep national importance.” United States v. Munchel, 2021 U.S.

Dist. LEXIS 194604, at *12 (D.D.C. Oct. 8, 2021) (internal marks omitted). The Defendants are

all members of the U.S. House of Representatives and the House Select Committee formed to

investigate the “domestic terrorist attack upon the United States Capitol Complex” and

“interference with the peaceful transfer of power.” See Select Committee to Investigate the



publisher of The Wall Street Journal, The E.W. Scripps Company, Gray Media Group, Inc., Los
Angeles Times Communications LLC, publisher of The Los Angeles Times, National Public
Radio, Inc., NBCUniversal Media, LLC d/b/a NBC News, The New York Times Company,
POLITICO LLC, Pro Publica, Inc., Tegna, Inc., Gannett Satellite Information Network, LLC,
publisher of USA TODAY, and WP Company LLC, d/b/a the Washington Post.
2 The sealed document relating to the motion for summary judgment,    Dkt. 24, may consist of
privilege logs provided by Plaintiff’s counsel to the Select Committee staff, which Defendants
filed under seal as Exhibit E to their motion for summary judgment, see Dkt. 15-6.


                                                 2
        Case 1:21-cv-03217-CJN Document 26-1 Filed 05/09/22 Page 3 of 8




January 6th Attack on the United States Capitol, https://january6th.house.gov/about. Once its

investigation is complete, the Select Committee will “issue a final report to the House containing

such findings, conclusions, and recommendations for corrective measures . . . as it may deem

necessary.” Id. As part of its investigation, the Select Committee has issued dozens of

subpoenas to individuals and companies. See, e.g., See, e.g., Annie Grayer, A running list of who

has received a subpoena from the House January 6 select committee, CNN (Nov. 10, 2021,

updated Feb. 22, 2022), https://www.cnn.com/2021/11/10/politics/list-january-6-

subpoenas/index.html.

       On September 31, 2021, the Select Committee served former White House Chief of Staff

Mark Meadows with subpoenas seeking documents and deposition testimony on “the President’s

post-election efforts to overturn the certified results of the 2020 election.” Mem. of Points and

Authorities in Support of Defs’ Mot. for Summary Judgment (“Defs’ Mot.”) at 1, Dkt. 15. The

Select Committee also served a subpoena on Verizon seeking records regarding Meadows’

personal cell phone usage during his tenure as White House Chief of Staff. Meadows takes the

position that the Select Committee cannot obtain information sought in the Verizon subpoena

without a warrant. Compl. ¶ 119, Dkt. 1. Meadows provided some documents in response to the

records subpoena served on him and initially agreed to provide deposition testimony. On

December 8, 2021, however, he filed this lawsuit asking the Court to quash the subpoenas on

grounds that the information sought is protected by the executive privilege and the subpoenas

violate his constitutional rights. See generally Compl.

       On April 22, 2022, Defendants moved for summary judgment, arguing that Meadows has

no valid ground to refuse to testify or produce relevant records. Defs.’ Mot. at 16. The motion

referenced and attached a number of documents, including one sealed exhibit that appears to




                                                 3
         Case 1:21-cv-03217-CJN Document 26-1 Filed 05/09/22 Page 4 of 8




contain Meadows’ privilege logs. See Ex. E to Decl. of Timothy Heaphy, Dkt. 15-6. Defendants

contemporaneously filed a motion for leave to file a document under seal, see Dkt. 16, which the

Court granted on May 2, 2022, see Dkt. 21. That same day, Defendants filed a sealed document

relating to their motion for summary judgment. Dkt. 24. Both the motion for leave to file under

seal and the order granting that motion are currently sealed and inaccessible on the Court’s

public docket.

       The Select Committee has told the American public that transparency will be key to its

work. Indeed, the Select Committee’s press release announcing the filing of this summary

judgment motion notes that it is “essential that the American people fully understand Mr.

Meadows’s role in events before, on, and after January 6th.” See Thompson & Cheney

Statement on Motion for Summary Judgment in Mark Meadows Litigation (Apr. 22, 2022),

https://january6th.house.gov/news/press-releases/thompson-cheney-statement-motion-summary-

judgment-mark-meadows-litigation. The Press Coalition advances precisely the same public

interest in transparency and accountability by moving to intervene in this action and requesting

that the Court unseal the Sealed Records.

 II.   THE COURT SHOULD PERMIT THE PRESS COALITION TO INTERVENE

       The Federal Rules and controlling case law clearly support the Press Coalition’s request

to intervene in this matter to assert the public’s right of access to sealed judicial records. The

Court “may permit anyone to intervene who . . . has a claim or defense that shares with the main

action a common question of law or fact.” Fed. R. Civ. P. 24(b). The D.C. Circuit has held that

third parties, including news organizations, “may be allowed to permissively intervene under

Rule 24(b) for the limited purpose of seeking access to materials that have been shielded from

public view either by seal or by a protective order.” EEOC v. Nat’l Children’s Ctr., Inc., 146

F.3d 1042, 1046 (D.C. Cir. 1998). Indeed, the Supreme Court has held that “representatives of


                                                  4
         Case 1:21-cv-03217-CJN Document 26-1 Filed 05/09/22 Page 5 of 8




the press and general public must be given an opportunity to be heard on the question of their

exclusion” from judicial proceedings. Globe Newspapers Co. v. Super. Ct., 457 U.S. 596, 609

n.25 (1982) (internal marks and citations omitted). The Court therefore should permit the

Coalition to intervene in this matter for the limited purpose of seeking access to the Sealed

Records. E.g., In re Application of Chodiev, 2021 U.S. Dist. LEXIS 90103, at *10 (D.D.C. Mar.

23, 2021) (granting CNN leave to intervene for purpose of challenging sealed court records).

III.   THE COURT SHOULD GRANT ACCESS TO THE SEALED RECORDS

       The First Amendment and common law rights of access to judicial records are “a

fundamental element of the rule of law, important to maintaining the integrity and legitimacy of

an independent Judicial Branch.” Metlife, Inc. v. Fin. Stability Oversight Council, 865 F.3d 661,

663 (D.C. Cir. 2017). The Court should release the Sealed Records under both the First

Amendment and the common law.

A.     The Court Should Release The Records Under The Constitutional Right of Access.

       “The Supreme Court has sketched a two-stage process for resolving whether the First

Amendment affords the public access to a particular judicial record or proceeding.” Dhiab v.

Trump, 852 F.3d 1087, 1102 (D.C. Cir. 2017) (Williams, J., concurring). “First the court must

determine whether a qualified First Amendment right of public access exists. If so, then . . . the

record or proceeding may be closed only if closure is essential to preserve higher values and is

narrowly tailored to serve that interest.” Id. (internal marks and citations omitted).3

       Courts follow the “experience and logic” test to determine where the constitutional right

of access right to records or a proceeding. Press-Enter. Co. v. Super. Ct. (“Press-Enterprise II”),



3 Though the D.C. Circuit has “never found a qualified First Amendment right outside the

criminal context,” the court has “never categorically ruled it out either,” and “many other circuits
have concluded that such a right exists in civil and even administrative matters.” Dhiab, 852

                                                  5
         Case 1:21-cv-03217-CJN Document 26-1 Filed 05/09/22 Page 6 of 8




478 U.S. 1, 9 (1986). Under this test, the right of access attaches if “the place and process have

historically been open to the press and general public” and if access “plays a significant positive

role in the function of the particular process.” Id. at 8. Applying this test, the constitutional right

of access plainly attaches to Defendants’ filings and the May 2 Order. See EEOC, 98 F.3d at

1409 (“A court’s decrees, its judgments, its orders, are the quintessential business of the public’s

institutions.”). Likewise, “precedent strongly favors [the] view” that the constitutional access

right applies “to non-dispositive civil motions,” including the other Sealed Records. See, e.g.,

Minter v. Wells Fargo Bank, N.A., 258 F.R.D. 118, 121 (D. Md. 2009).

        Where this constitutional right of access applies, the Court should make the judicial

records public unless secrecy “is essential to preserve higher values and is narrowly tailored to

serve that interest.” Dhiab, 852 F.3d at 1102 (Williams, J., concurring). Neither the parties nor

the Court have articulated on the public record how the withholding of the Sealed Records is

essential to preserve any higher values. Nor are there any public findings that targeted redactions

would not sufficiently protect any such interest. See In re New York Times Co., 585 F. Supp. 2d

83, 91 (D.D.C. 2008) (because restrictions on First Amendment right of access must be narrowly

tailored, courts must ask whether “the goal of protecting [higher values] can be accomplished by

means less restrictive than prohibiting access . . . altogether”).

        Because the First Amendment access right applies to the Sealed Records, and there are no

findings on the public record demonstrating that blanket withholding is essential to preserving

any higher values, the Court should promptly grant the Press Coalition’s motion for access.




F.3d at 1104 (Williams, J., concurring); see also In re Guantanamo Bay Detainee Litig., 630 F.
Supp. 2d 1, 10 (D.D.C. 2009) (“[t]he consensus of the Circuits is that there has been a history of
public access to civil proceedings”).

                                                   6
         Case 1:21-cv-03217-CJN Document 26-1 Filed 05/09/22 Page 7 of 8




B.     The Court Should Release The Records Under The Common Law Right Of Access.

       The Court also should release the Sealed Records pursuant to the common law right of

access. “Although [this] right is not absolute, there is a strong presumption in its favor, which

courts must weigh against any competing interests.” Metlife, 865 F.3d at 663. Like the

constitutional right of access, the common law right requires courts to conduct a two-stage

analysis. First, courts determine whether the records at issue are “judicial records” to which

there is a “strong presumption” in favor of access. Id. at 665-67. If they are judicial records,

courts then apply the six-factor test set out in United States v. Hubbard to determine whether the

presumption of access has been rebutted. 650 F.2d 293, 317-21 (D.C. Cir. 1980).

       Under controlling case law, the Sealed Records are “judicial records” to which the public

has a presumptive right of access under the common law. In Metlife, the D.C. Circuit recently

explained that documents filed with the court are judicial records, even when they are filed under

seal, so long as they “were filed before the . . . court’s decision and were intended to influence

it.” 865 F.3d at 668. Here, the Sealed Records – document(s) pertaining to Defendants’ motion

for summary judgment, Defendants’ motion for leave to file under seal, and the Court’s related

order – clearly were intended to influence the Court in reaching a decision and reflect the Court’s

decision. The Sealed Records also are therefore “judicial records,” and the same “strong

presumption” of public access applies.

       Because the public has a presumptive right of access to the Sealed Records under the

common law, the Court should release them unless the party seeking the sealing rebuts the strong

presumption under Hubbard and Metlife. Again, neither the parties nor the Court have

articulated on the record how these factors could outweigh the “strong presumption” of access to

the Sealed Records, particularly in a case where the issues and related filings are already public.




                                                  7
         Case 1:21-cv-03217-CJN Document 26-1 Filed 05/09/22 Page 8 of 8




See In re Application of Chodiev, 2021 U.S. Dist. LEXIS 90103, *27 (recommending unsealing

briefs and exhibits in support of a motion as it “seems illogical to maintain the seal over these

motions when the underlying filings will be unsealed”); see also Order at 2, United States v.

Rukstales, No. 21-cr-41-CJN (D.D.C. Nov. 24, 2021), Dkt. 150 (granting the Press Coalition’s

application for access to certain judicial records where “[n]one of [the arguments against

unsealing] overcome the presumption in favor of public access”). The Court should therefore

grant the Press Coalition access to the Sealed Records pursuant to the common law as well.

                                          CONCLUSION

       For the foregoing reasons, the Press Coalition respectfully requests that the Court (1)

grant its motion to intervene, (2) order the Sealed Records unsealed and placed on the public

docket, and (3) provide that any future motions to seal in this case be filed with sufficient notice

to the public of the purported grounds under the First Amendment and common law.



      Dated: May 9, 2022                    Respectfully submitted,

                                            BALLARD SPAHR LLP

                                            /s/ Charles D. Tobin
                                            Charles D. Tobin (#455593)
                                            Maxwell S. Mishkin (#1031356)
                                            Lauren Russell (#1697195)
                                            1909 K Street, NW, 12th Floor
                                            Washington, DC 20006
                                            Tel: (202) 661-2200
                                            Fax: (202) 661-2299
                                            tobinc@ballardspahr.com
                                            mishkinm@ballardspahr.com
                                            russelll@ballardspahr.com

                                            Counsel for the Press Coalition




                                                  8
